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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

                                      :
Marcus Brown,                         : Civil Action No.: ______
                                      :
                 Plaintiff,           :
     v.                               :
                                      :
Commercial Recovery Systems, Inc. and : COMPLAINT
DOES 1-10, inclusive,                 : JURY TRIAL DEMANDED
                                      :
                 Defendants.          :
                                      :

      For this Complaint, the Plaintiff, Marcus Brown, by undersigned counsel,

states as follows:

                                   JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

invasions of Plaintiff’s personal privacy by the Defendants and its agents in their

illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that the Defendants transact business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.
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                                         PARTIES

      4.      Plaintiff, Marcus Brown (“Plaintiff”), is an adult individual residing in

Smyrna, GA, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

      5.      Defendant Commercial Recovery Systems, Inc. (“CRS”), is a Texas

business entity with an address of 8035 RL Thornton Fairway, Suite 220, Dallas,

Texas 75228, operating as a collection agency, and is a “debt collector” as the term

is defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

CRS and whose identities are currently unknown to the Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed through

discovery.

      7.      CRS at all times acted by and through one or more of the Collectors.

               ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

      8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to

an original creditor (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the

definition of a “debt” under 15 U.S.C. § 1692a(5).


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      10.    The Debt was purchased, assigned or transferred to CRS for

collection, or CRS was employed by the Creditor to collect the Debt.

      11.    The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. CRS Engages in Harassment and Abusive Tactics

      12.    Within the last year, the Defendants contacted Plaintiff in an attempt

to collect the Debt.

      13.    In or about November 2011, CRS began placing telephone calls to

Plaintiff and demanding that Plaintiff immediately pay the Debt.

      14.    Plaintiff informed CRS that he disputed the balance of the Debt.

Despite this, during each and every conversation with Plaintiff, CRS threatened to

immediately file suit against Plaintiff and garnish his wages if Plaintiff did not

immediately enter into a payment arrangement for the Debt.

      15.    As a result, Plaintiff felt coerced into agreeing to a payment

arrangement despite disputing the amount of the Debt.

   C. Plaintiff Suffered Actual Damages

      16.    The Plaintiff has suffered and continues to suffer actual damages as a

result of the Defendants’ unlawful conduct.




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      17.    As a direct consequence of the Defendants’ acts, practices and

conduct, the Plaintiff suffered and continues to suffer from humiliation, anger,

anxiety, emotional distress, fear, frustration and embarrassment.

      18.    The Defendants’ conduct was so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.

                            COUNT I
            VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      19.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      20.    The Defendants’ conduct violated 15 U.S.C. § 1692d                in that

Defendants engaged in behavior the natural consequence of which was to harass,

oppress, or abuse the Plaintiff in connection with the collection of a debt.

      21.    The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that

Defendants threatened the Plaintiff with garnishment if the Debt was not paid.

      22.    The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      23.    The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the above-

cited provisions.
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      24.     The Plaintiff is entitled to damages as a result of Defendants’

violations.

                         COUNT II
  VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT,
                  O.C.G.A. § 10-1-390, et seq.

      25.     The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      26.     The Plaintiff is a “consumer” as the term is defined by O.C.G.A. § 10-

1-392(6).

      27.     The Plaintiff incurred a Debt as a result of engaging into “[c]onsumer

transactions” as the term is defined by O.C.G.A. § 10-1-392(10).

      28.     The Defendants’ unfair or deceptive acts to collect the Debt occurred

in commerce, in violation of O.C.G.A. § 10-1-393(a).

      29.     The Plaintiff suffered mental anguish, emotional distress and other

damages in an amount to be proven at trial.

      30.     Defendant’s failure to comply with these provisions constitutes an

unfair or deceptive act under O.C.G.A. § 10-1-393(a) and, as such, the Plaintiff is

entitled to damages plus reasonable attorney’s fees.




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                        COUNT III
    INTENTIONAL (OR RECKLESS) INFLICTION OF EMOTIONAL
                        DISTRESS

      31.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully set forth herein at length.

      32.    The acts, practices and conduct engaged in by the Defendants vis-à-

vis the Plaintiff was so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency, and to be regarded as atrocious, and utterly

intolerable in a civilized community.

      33.    The foregoing conduct constitutes the tort of intentional infliction of

emotional distress under the laws of the State of Georgia.

      34.    All acts of Defendants and the Collectors complained of herein were

committed with malice, intent, wantonness, and recklessness, and as such,

Defendants are subject to imposition of punitive damages.

      35.    Defendants could reasonably foresee its conduct would cause mental

anguish and severe emotional distress to Plaintiff.

      36.    Plaintiff did indeed suffer mental anguish and severe emotional

distress including post-traumatic stress, paranoia, and depression.

      37.    Defendant’s conduct resulted in reckless infliction of emotional

distress under the laws of the State of Georgia.

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                           PRAYER FOR RELIEF

     WHEREFORE, the Plaintiff prays that judgment be entered against

Defendants:

              1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and

                 O.C.G.A. § 10-1-399(a) against Defendants;

              2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                 §1692k(a)(2)(A) against Defendants;

              3. Treble damages pursuant to O.C.G.A. § 10-1-399(c) against

                 Defendants;

              4. Costs of litigation and reasonable attorney’s fees pursuant to 15

                 U.S.C. § 1692k(a)(3) and O.C.G.A. § 10-1-399(d) against

                 Defendants;

              5. Actual damages from Defendants for the all damages including

                 emotional distress suffered as a result of the intentional, reckless,

                 and/or negligent FDCPA violations and intentional, reckless,

                 and/or negligent invasions of privacy in an amount to be

                 determined at trial for the Plaintiff;

              6. Punitive damages pursuant to O.C.G.A. § 10-1-399(a) against

                 Defendants; and

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               7. Such other and further relief as may be just and proper.

                TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: July 26, 2012


                                      Respectfully submitted,

                                      By: /s/ Cara Hergenroether, Esq.
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